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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
              V.                            )      CR 110-203
                                            )
ROBERT J. DEMELLO, JR.                      )




                                      ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, the motions to suppress filed by Defendant DeMello are DENIED.

(Doc. nos. 64, 73.)

       SO ORDERED this /j'day of November, 2010, at Augusta, Georgia.




                                     J. "AL HALL'
                                     UNITE'D STATES DISTRICT JUDGE
